         Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 1 of 19



                             UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF COLUMBIA


DONNA MARIE HOLLAND, et al.,                 )
                                              )
               Plaintiffs,                    )
                                              )
       V.                                     ) Civil Action No. 01-1924 (CKK)
                                              )
                                              )
THE ISLAMIC REPUBLIC                          )
      OF IRAN, et al.,                        )
                                              )
                                              )
               Defendants.                    )

                POST-TRIAL MEMORANDUM OF LAW OF PLAINTIFFS
                        RESPONDING TO COURT ORDER

       This action was tried to the Court on January 19, 2005. On that day, plaintiffs introduced

evidence showing that defendants the Islamic Republic of Iran, MOIS, and IRGC were directly

responsible for planning, supporting, financing, and executing a terrorist bombing attack on

October 23, 1983, against the Marine Barracks in Beirut, Lebanon. Tr. 18–33, 39-62. In that

attack, Robert S. Holland’s young and promising life was cut short a few weeks short of his 29th

birthday, depriving his wife, his two sons, his brother and his parents of his continued love, care,

and companionship.

       In an Order of January 19, 2005, the Court ordered plaintiffs to submit a final brief

connecting the factual and legal issues in this case. The Court specifically asked plaintiffs to

include a discussion (1) whether the relevant probate statute governing the administration of

decedent’s estate allows for the recovery of economic damages under a wrongful death action;

and (2) whether the state in which each plaintiff-claimant resides allows for the collection of

damages under solatium for a person of their status in relation to the decedent. This
           Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 2 of 19




Memorandum responds to that Order.

       The principles governing the application of law to the facts here have been previously

discussed by plaintiffs to a substantial extent in their Memorandum of Law submitted to the

Court on January 5, 2005. There, plaintiffs showed that the Foreign Sovereign Immunities Act

(FSIA) allows plaintiffs to bring all causes of action that fall within the terms of a Section

1605(a)(7) exception. Section 1606 of the FSIA provides that when a cause of action is available

against private individuals, it must be applied to non-immune foreign states and their

instrumentalities in the same manner. Thus, two federal statutes creating causes of action against

individuals for terrorist actions are made fully applicable to states and their instrumentalities

subject to the FSIA. These two statutes are the Torture Victims Protection Act, 28 U.S.C. § 1350

note, and the Flatow “Amendment,” 28 U.S.C. § 1605 note. As demonstrated in our previous

submission, and as affirmed in Dodge v. Islamic Republic of Iran, No. 03-252 (D.D.C. Aug. 25,

2004), both the TVPA and the Flatow causes of action survive Cicippio-Puleo1 through the

operation of Section 1606. The TVPA expressly imposes liability for an “extrajudicial killing” to

“any person who may be a claimant in an action for wrongful death.” The Flatow Amendment

also imposes liability “for personal injury or death,” and allows recovery by close family

members of “money damages, solatium, pain and suffering, and punitive damages....”

       As further demonstrated in our prior Memorandum, even if the two federal statutory

causes of action described above were not made applicable through the operation of Section

1606, federal common law, including incorporated international law, provides essentially



       1
           Cicippio-Puleo v. Islamic Republic of Iran, 353 F.3d 1024 (D.C. Cir. 2004).

                                                  2
           Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 3 of 19




equivalent causes of action and remedies for victims of state-sponsored terrorism. Federal

common law has always been concerned, inter alia, with “international disputes implicating the

conflicting rights of states or our relations with foreign nations....” Texas Industries, Inc. v.

Radcliff Materials, 451 U.S. 630 (1981).2 As further demonstrated in our pretrial briefing,

federal common law incorporates international norms against extrajudicial killing. It has been

applied in numerous other terrorism cases. And there is a strong basis for recognizing federal

common law rights of action for wrongful death and solatium.

       All these points have been made in plaintiffs’ prior submission of January 5, 2005, and

will not be repeated here. Instead, in Section I below, we tie in these legal principles to the facts

adduced at trial.

       In Section II, we answer the Court’s first question and demonstrate that the state law of

Kentucky, where decedent’s estate was admitted to probate, specifically allows recovery of

economic damages–as well as punitive damages--in an action for wrongful death. And in

Section III we demonstrate that the state laws where all the respective plaintiffs reside–Kentucky,

Tennessee, and Texas--allow recovery of damages for either or both (i) solatium/loss of

consortium, or (ii) intentional infliction of emotional distress, for persons in the status of the

respective plaintiffs/claimants with respect to the decedent. In Section IV, we discuss the special

status of the IRGC in this case, and why the award of punitive damages against the IRGC is

especially well-justified.



       2
           Plaintiffs’ expert on counterterrorism, Dr. Bruce Tefft, testified that Iran’s sponsorship
of the terrorist act at issue here had a political purpose, and the intention was to drive U.S. and
international peacekeeping forces out of Lebanon. Tr. 33-34.

                                                   3
         Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 4 of 19




                                            ARGUMENT

I.     THE FACTS DEMONSTRATE THAT IRAN, MOIS, AND THE IRGC ARE
       INDIVIDUALLY, JOINTLY AND SEVERALLY LIABLE FOR THE
       TERRORIST ACT WHICH CAUSED THE DEATH OF ROBERT S. HOLLAND.

       Dr. Bruce Tefft, who was qualified by the Court and admitted to testify as an expert on

counterterrorism, Tr. 13, described in great detail how the plot to attack the Marine barracks

developed; how it was planned; how it was executed; and how Iran, the MOIS, and the IRGC all

participated in that plot and worked together in planning, supporting, recruiting and training

personnel, and helping to execute the attack. Tr. 15-63 generally.

        This Court has already considered in another case much of the same evidence presented

by plaintiffs here on January 19, 2005, with respect to the terrorist bombing of the Marine

Barracks in Beirut, Lebanon on October 23, 1983. Peterson v. Islamic Republic of Iran, 264 F.

Supp. 2d 46 (D.D.C. 2003). Analyzing the same facts, the Peterson Court reasoned that “the

FSIA utilizes the same definition of ‘extrajudicial killing’ as the Torture Victim Protection Act of

1991,” and that “the development and detonation of an explosive charge” next to the Marine

Barracks on October 23, 1983, which resulted in the death of 241 peacekeeping American

servicemen–including Robert S. Holland–satisfies the definition of such an “extrajudicial

killing.” 264 F. Supp.2d at 61. The Peterson Court concluded that “the deaths of over 241

peacekeeping servicemen at the Marine barracks in Beirut, Lebanon, were caused by a willful

and deliberate act of extrajudicial killing.” Id.

        The Peterson court continued, “as the result of the deaths of 241 American servicemen in

Beirut, Lebanon, their parents, surviving siblings, children, and spouses have suffered and will



                                                    4
           Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 5 of 19




continue to suffer severe mental anguish and loss of society.” Id.

       The record in this case also amply supports the same conclusions. Dr. Tefft’s testimony,

along with the Exhibits introduced in support of that testimony, leaves no doubt that (1) Iran

planned, approved, financed, and supported the attack; Tr. 19, 20, 23, 28, 31-32, 41, 48, 53-55,

57, and 61; (2) the MOIS played a key role in all elements of preparation, operational planning

and support, Tr. 25-26, 43, 57, 58, and 61-62; and (3) the IRGC, a paramilitary group described

as “the personal party militia of the Islamic Party and ... the Ayatollah” Tr. 24 was a “primary

mover” for the attack, Tr. 62, with responsibility for recruiting and training the suicide bombers,

preparation of the explosives, and installation of the explosives in the truck used by the suicide

bombers. Id.; see also Tr. 19, 28, 32, 43, 49, 58.

       Under any applicable legal standard, it is clear that all three defendants are directly

responsible, jointly and severally, for the willful and deliberate “extrajudicial killing” of Robert

S. Holland. This is clear whether the defendants’ responsibility is analyzed under the Flatow

Amendment; under the TVPA; or under federal common law as it incorporates norms of

international law. All three prohibit, and provide remedies for, the extrajudicial killing of Robert

S. Holland.3

       Similarly, under well-established precedents, all plaintiffs here–immediate family

members including children, parents, spouse, and siblings who remain close to the victim of

terrorism–have viable and well-recognized causes of action for solatium. “These awards have

explicitly been limited to ‘immediate family’ members, which is defined as including spouses,



       3
           See Memorandum of Law submitted by Plaintiffs on January 5, 2005, at 5-18 .

                                                     5
         Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 6 of 19




children, parents and siblings.” Dammarell v. Islamic Republic of Iran, 281 F. Supp. 2d 105, 196

(D.D.C. 2003). As the Dodge court found, even after Cicippio-Puleo:

                The paradigm established by this Court in the various other decisions it has issued
        concerning compensation for victims of terrorism setting forth the framework for
        awarding damages to the plaintiffs both under federal statutory law and alternatively
        under federal and state common law, continues to apply, and allows recovery for the
        plaintiffs in this case. See Kerr, 245 F. Supp. 2d at 63-64; Stethem, 201 F. Supp. 2d at
        87-93; Wagner, 172 F. Supp. 2d at 135-38; Sutherland v. Islamic Republic of Iran, 151 F.
        Supp. 2d 27, 47-53 (D.D.C. 2001); Dammarell v. Islamic Republic of Iran, 281 F. Supp.
        2d 105, 194-203 (D.D.C. 2003).

Dodge v. Islamic Republic of Iran, No. 03-252 (D.D.C. Aug. 25, 2004), Memorandum and Order

at 9-10. The Court further noted “that even were this not so, federal common law causes of

action still give rise to liability for the defendants.” Id., n.9.

II.     KENTUCKY PROVIDES FOR THE RECOVERY OF ECONOMIC DAMAGES
        AND PUNITIVE DAMAGES IN A WRONGFUL DEATH ACTION.

        Decedent’s estate was admitted to probate in Kentucky. Tr. 121; Exhibits 19, 20. Donna

Holland has been appointed the personal representative or “executrix” of decedent’s Estate, Tr.

121, and Exhibits 19 and 20, and in that capacity, has sought recovery of economic damages to

the estate and also punitive damages. She has submitted expert testimony and evidence to the

Court that those economic damages were in the amount of $1,241,486. Tr.171, Exhibit 22.

        Kentucky, by its Constitution and by statute, recognizes claims for wrongful death.

Section 241 of the Kentucky Constitution provides that “whenever the death of a person shall

result from an injury inflicted by negligence or wrongful act...damages may be recovered for such

death from the corporations and persons so causing the same....” Kentucky’s code expressly

recognizes that wrongful death damages are due to the personal representative of the estate of the



                                                     6
         Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 7 of 19




deceased.

        KRS 411.130 provides, in relevant part, as follows:

               (1)Whenever the death of a person results from an injury inflicted by the
       negligence or wrongful act of another, damages may be recovered for the death by the
       person who caused it, or whose agent or servant caused it. If the act was willful or the
       negligence gross, punitive damages may be recovered. The action shall be prosecuted by
       the personal representative of the deceased

       Kentucky has long held that the measure of damages recoverable for wrongful death is

the sum which would fairly compensate the estate of the deceased for the destruction of his

ability to earn money. E.g., Louisville & N.R. Co. v. Eakins Adm’r, 103 Ky 465, 45 S.W. 529

(1898); Humble v. Mountain State Construction Co., 441 F.2d 816 (6th Cir. 1971); Lutrell v.

Wood, 902 S.W. 2d 817 (Ky. 1995). This is precisely the method of calculation used by

plaintiff’s economic loss expert in this case, Dr. Jerome Paige. Tr. 161-165.

       Moreover, as the Kentucky statute expressly provides, punitive damages may be

recovered as well, if the “act was willful or the negligence gross.” E.g., Phelps v. Louisville

Water Co., 103 S.W. 3d 46 (Ky. 2003)(gross negligence). Here, there is no question that the

extrajudicial killing of Robert S. Holland was willful and malicious, and that punitive damages

would be due under the Kentucky statute.

       Accordingly, even if the Court held, contrary to our arguments, that state law, not federal

statutory or common law, must provide the substantive basis for liability through the operation of

Section 1606 of the FSIA, there is no question that plaintiff’s wrongful death claim for both

compensatory and punitive damages is well-founded.




                                                 7
         Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 8 of 19




III.    THE LAWS OF TENNESSEE, KENTUCKY, AND TEXAS RECOGNIZE THE
        RIGHT TO DAMAGES FOR LOSS OF CONSORTIUM/SOLATIUM AND FOR
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS.

        All three states in which plaintiff/claimants reside–Tennessee, Kentucky, and

Texas–recognize claims for loss of consortium for the death of a close family member, such as a

spouse, child, or parent. In addition, although Texas does not recognize a claim for loss of

consortium by a sibling, all three states, including Texas, recognize claims for intentional

infliction of emotional distress by plaintiff-claimants in the situation of those before the Court.

        A.      The Claim for Solatium Damages Is Equivalent to the Claim for Loss of
                Consortium, and Has Been held to Encompass Such Claims.

        The claim for loss of consortium is essentially the same as, and interchangeable with, a

claim for solatium damages such as the claims asserted here. “A separate loss which is

encompassed within solatium is the loss of decedent’s society and comfort.” Flatow v. Islamic

Republic of Iran, 999 F. Supp. 1, 31 (D.D.C. 1998). Accord, e.g., Elahi v. Islamic Republic of

Iran, 124 F. SUPP. 2d 97, 109-110 (D.D.C. 2000)(“The loss of decedent’s society and comfort is

also encompassed within solatium.”); Brooks v. Bienkowski, 150 Md. App. 87, 818 A2d 1198,

1200, n.1 (Md. Ct. Spec. App. 2003)(“We use the term ‘loss of solatium’ as shorthand for mental

anguish, emotional pain and suffering, loss of society, companionship, comfort, protection,

marital care, attention, advice or counsel....”).

        In numerous cases, this Court has used the terms “solatium,” “loss of solatium,” and “loss

of consortium” interchangeably. E.g., Dammarell v. Islamic Republic of Iran, 281 F. Supp.2d

105 (D.D.C. 2003)(“Spousal consortium and solatium awards have ranged from $8 million to

$12 million.”); Kerr v. Islamic Republic of Iran, 245 F. Supp. 2d 59, 64 (D.D.C. 2003)(“In


                                                    8
         Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 9 of 19




computing awards for loss of consortium and solatium, the Court appropriately considers the

following factors....”); Stethem v. Islamic Republic of Iran, 201 F. Supp. 2d 78, 92 (D.D.C.

2002)(“entitled to damages for loss of consortium and solatium”); Hegna v. Islamic Republic of

Iran, 2002 U.S. Dist. LEXIS 27544 at * 21 (D.D.C. 2002)(“entitled to damages for loss of

solatium and consortium....”).

       Accordingly, state law that provides for compensation for “loss of consortium” can

provide a substantive basis, under Section 1606 of the FSIA, for the recovery by all immediate

family members who would have such a claim under the law of their respective states.

       B.      Tennessee, Where Decedent’s Widow, Mrs. Donna Holland Resides, Recognizes
               Claims for Loss of Consortium By A Spouse in Wrongful Death Actions.

       Mrs. Holland testified that she was the surviving widow of Robert S. Holland and that she

resided in Tennessee. Tr. 64, 72.

       Tennessee’s Supreme Court has held that Tennessee’s wrongful death statute, Tenn. Code

Ann. § 20-5-113 (1994), permitted the recovery of spousal and parental consortium damages. In

Jordan v. Baptist Three Rivers Hospital, 984 S.W. 2d 593, 598-601 (Tenn. 1999), the court

reasoned:

       The wrongful death statute neither explicitly precludes consortium damages nor reflects
       an intention to preclude consortium damages. The statute's language does not limit
       recovery to purely economic losses. To the contrary, the statute's plain language appears
       to encompass consortium damages.

Id. at 600. The Tennessee Supreme Court further clarified what it meant by consortium damages,

describing them in terms remarkably similar to the terms used and cited above to describe

“solatium” damages:

       We hold that consortium-type damages may be considered when calculating the

                                                9
        Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 10 of 19




       pecuniary value of a deceased's life. This holding does not create a new cause of action
       but merely refines the term "pecuniary value." Consortium losses are not limited to
       spousal claims but also necessarily encompass a child's loss, whether minor or adult.
       Loss of consortium consists of several elements, encompassing not only tangible services
       provided by a family member, but also intangible benefits each family member receives
       from the continued existence of other family members. Such benefits include attention,
       guidance, care, protection, training, companionship, cooperation, affection, love, and in
       the case of a spouse, sexual relations. Our holding conforms with the plain language of
       the wrongful death statutes, the trend of modern authority, and the social and economic
       reality of modern society.

Id. at 601-02, emphasis added.

       Accordingly, there is no question that, if Tennessee law were applied to Mrs. Holland’s

claim for solatium/loss of consortium through the operation of Section 1606 of the FSIA, it

would entitle her to recovery for such losses.

       C.      Kentucky, Where Decedent’s Two Sons and Parents Reside,
               Recognizes Damages for Loss of Consortium.

       James Robert Holland and Chad Philip Holland were about three and a half and one and a

half years old at the time their father died on October 23, 1983. Tr. 73, 91. They moved back to

Kentucky shortly after the family learned of Robert’s death, so that they could be close their

grandparents, Rosemary and Charles Holland. Tr. 130. Kentucky has recognized the right of

minor children, as James and Chad were at the time of their father’s death, for loss of parental

consortium. Giuliani v. Guiler, 951 S.W. 2d 318 (Ky. 1997). The Supreme Court of Kentucky

there stated, “It is the holding of this Court that Kentucky recognizes the claim of minor children

for loss of parental consortium.... A claim for loss of parental consortium arises from a

recognition of the common law as distinguished from the statutory law.” 951 S.W. 2d at 323.

       The record is rife with poignant testimony of how the lives of decedent’s two minor

children were adversely affected by his death and the disappearance of his guidance, consistency,

                                                 10
           Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 11 of 19




love and care from their lives at an early age. Tr. 97, 100-101,106-09, 110-113. Several

witnesses agreed that the two children grew up with significant issues and problems associated

with the lack of a father in their lives, and that they seemed often to be searching for ways of

filling that void. Tr.131, 143-45, 154.

       Moreover, Kentucky law also provides, by statute, that a child under eighteen whose

parent is killed by the “malicious use of a deadly weapon, not in self-defense, may have a cause

of action against the person who committed the killing and all others aiding or promoting, or any

of them. In such actions the jury may give vindictive damages.” KRS § 411.150.

       Accordingly, there is no question that, if Kentucky law were deemed applicable through

the operation of Section 1606 of the FSIA, decedents two sons–James Robert Holland and Chad

Phillip Holland--would be entitled to damages for loss of consortium because of the death of

their father, as well as vindictive damages because he was killed by use of a deadly weapon.

       Charles Holland and Rosemary Holland, decedent’s parents, are also residents of

Kentucky, and have been at all relevant times. Tr. 123, 134. The Kentucky statute that provides

for wrongful death damages for the death of a child speaks in terms of a “minor child,” KRS §

411.135,4 and Robert S. Holland, twenty-eight years old when he died, was clearly no longer a

minor. Although we have found no Kentucky court decisions extending the right to recover

damages for loss of consortium for the death of a non-minor son or daughter, we have found no



       4
        The Kentucky statute expressly provides for damages for loss of consortium:
       In a wrongful death action in which the decedent was a minor child, the surviving parent,
       or parents, may recover for loss of affection and companionship that would have been
       derived from such child during its minority, in addition to all other elements of the
       damage usually recoverable in a wrongful death action.

                                                 11
            Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 12 of 19




decisions barring such a recovery either. Indeed, in light of the reasoning and rationale of the

Kentucky Supreme Court in the Giuliani v. Guiler case cited above, which freely extended such

rights as a matter of common law to children, and which noted that “loss of consortium is a

common law cause of action” and “common law grows and develops and must be adapted to

meet the recognized importance of the family,” 951 S.W. 2d at 320, it is likely that, if the

question arose, the Kentucky Supreme Court would affirm the right of parents to recover for loss

of consortium of their grown children, especially where there is evidence of continuing closeness

and family bonds.5 “This Court has the authority and responsibility to modify loss of consortium

as a common law doctrine when necessary.” Id.

        Accordingly, it seems highly probable that Rosemary and Charles Holland, as the parents

of the decedent, would have viable claims under Kentucky law for loss of consortium as the

result of his extrajudicial killing by defendants here, if that law were deemed applicable under

Section 1606 of the FSIA.

        D.       An Action for Intentional Infliction of Emotional Distress Is Also Subsumed
                 Within a Claim for Solatium in These Circumstances, and All Three Relevant
                 States Recognize the Availability of Such an Action for Plaintiffs-Claimants
                 Before the Court.

        This Court has repeatedly held, in many similar cases, that the action for solatium

damages is essentially equivalent to an action for intentional infliction of emotional distress

where that distress was caused by an intentional killing that is a part of a terrorist attack. In

Wagner v. Islamic Republic of Iran, 172 F. Supp. 2d 128 at 135, n.11 (D.D.C. 2001), this Court


        5
          In neighboring Tennessee, the law is clear that loss of consortium claims can be made
for the death of a child, “whether minor or adult.” Jordan v. Baptist Three Rivers Hospital, 984
S.W. 2d 593, 601-02 (Tenn. 1999), more extensively quoted at 9-10 above.

                                                  12
           Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 13 of 19




held that, although the cause of action for solatium is not available under District of Columbia

law, in “an intentional homicide case such as this,... solatium appears in any event to be

indistinguishable from the intentional infliction of emotional distress for which the District of

Columbia does generally allow recovery in tort....” Accord, Dammarell, 381 F. Supp 2d at 196

n.19, citing Surette v. Islamic Republic of Iran, 231 F. Supp. 2d 260, 269 n.8 (D.D.C. 2002)(“in

an intentional homicide case such as a terrorist killing, solatium appears ... to be

indistinguishable from ... intentional infliction of emotional distress.”).

       The D.C. Circuit in Bettis v. Islamic Republic of Iran, 315 F.3d 325 (D.C. Cir. 2003), also

adopted this rationale: “Application of federal common law is particularly appropriate because

the District of Columbia, which is the dedicated venue for actions against foreign states, ... does

not recognize solatium damages in wrongful death cases....” 315 F.3d at 332.6 Indeed, Bettis

expressly relied on the Restatement (Second) of Torts § 46, noting that it had been applied by a

number of courts in terrorism cases “as a proxy for state common law of intentional infliction of

emotional distress.” 315 F.3d at 333.

       In Dammarell v. Islamic Republic of Iran, 281 F. Supp. 2d 105, at 190 (D.D.C. 2003), the

Court quoted and relied upon the testimony of an expert in grief counseling and emotional

trauma to conclude that, in family members of individuals killed in terrorist acts such as the 1983

bombing of the United States Embassy in Beirut, trauma can manifest itself as part of a syndrome

known as traumatic grief, or complicated grief, which refers to “the aftermath of losing someone



       6
           In Bettis, the D.C. Cicuit noted that “the term ‘federal common law’ seems to us to be
a misnomer,” 315 F. 3d at 333, but nonetheless proceeded to apply it to define the boundaries of
intentional infliction of emotional distress.

                                                  13
        Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 14 of 19




unexpectedly or under certain traumatic circumstances.” The expert also there testified that

“while the resulting PTSD [post traumatic stress disorder] might not be as intense as that of a

person directly involved in the trauma itself, the most common cause of PTSD is the sudden

death or traumatic injury of a family member.” Id. The Dammarell court relied heavily on that

evidence, and concluded that, although not every plaintiff and family member in that case

suffered from or was diagnosed with post traumatic stress disorder, “many if not all of the

plaintiffs ...suffered from psychological symptoms consistent with those described by Dr. Pastor

as being common consequences of traumatic, violent events.” Id. at 191. The same thread runs

through the testimony of all immediate family members here: the shock of learning of their loved

one’s sudden death and disappearance; the emotional trauma and the aftermath of adjusting to

their new reality; and the inability, even today twenty two years later, to put the wounds

completely behind them.

       All three relevant states recognize that immediate family members, including siblings

who are close to the deceased, would have viable claims for intentional infliction of emotional

distress in these circumstances.

               1. Texas. Plaintiff Pat Holland, decedent’s brother, testified that he was a resident

of Texas. Tr. 146. He also testified that he remained close to his brother even as an adult, and

that he was deeply moved and adversely affected by news of his death. Tr. 150-152;155. Indeed,

Mr. Holland was so moved at the recollection of receiving the news of his brother’s death, that

the Court had to take a short recess to allow him to regain his composure. Tr. 152.

                      Texas recognizes the tort of intentional infliction of emotional distress
               based on section 46 of the Restatement (Second) of Torts. Twyman v. Twyman,
               855 S.W.2d 619, 622 (Tex. 1993); RESTATEMENT (SECOND) OF TORTS §

                                                14
        Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 15 of 19




               46 (1965). The elements of such a claim are: (1) an intentional or reckless act that
               is (2) extreme or outrageous in character, (3) caused the plaintiff emotional
               distress, and (4) severe. Twyman, 855 S.W.2d at 621. Due to the lack of Texas
               cases interpreting the Restatement, we examine the text of section 46.
                       Section 46(1) holds an actor liable for intentional or reckless conduct
               causing severe emotional distress without requiring that the victim suffer bodily
               (physical) harm in order to recover. Section 46(2) discusses conduct "directed at"
               a "third person" victim and allows bystander recovery for severe emotional
               distress without bodily harm only if the bystander is a member of the victim's
               immediate family. RESTATEMENT (SECOND) OF TORTS § 46 (1965).

Johnson v. Standard Fruit & Vegetable Co., 984 S.W.2d 633 (Tex. Ct. App. 1997). In Bettis, the

D.C. Circuit analyzed the application of Section 46(2) of the Restatement to family members of

the victim, and concluded that the cause of action was available even to “immediate family

members” who may not have been physically present at the time of the attack or killing giving

rise to the emotional distress. However, the court strictly limited the definition of “immediate

family” to the one used by the lower court in that case: “The Court defines one’s immediate

family as his spouse, parents, siblings, and children.” 315 F. 3d at 331. Thus, as decedent’s

sibling, Pat Holland clearly qualifies for damages for intentional infliction of emotional distress

under Texas law, if Texas law should be applied under Section 1606 of the FSIA, and under the

Bettis interpretation of Section 46(2) of the RESTATEMENT (SECOND) OF TORTS.

       2. Kentucky. As residents of Kentucky and immediate family members of the decedent,

Charles and Rosemary Holland also qualify for damages for intentional infliction of emotional

distress. Kentucky recognizes that tort as it is stated in Section 46(1) of the Restatement. Craft

v. Rice, 671 S.W.2d 247 (1984). In Wilhoite v. Cobb, Ky. App., 761 S.W.2d 625 (1988), and

Allen v. Clemons, Ky. App. 920 S.W.2d 884, at 886 (1996), an intermediate level Kentucky court

declined to address subsection (2), “which makes the cause of action available to immediate


                                                 15
        Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 16 of 19




family members, because that is a function more properly addressed to our court of last resort.”

However, neither case decided that subsection (2) would not be available, assuming the issue

were properly presented to the Kentucky Supreme Court. Certainly under the Bettis analysis

noted above, the parents of the deceased would qualify to make claims for intentional infliction

of emotional distress.

       Decedent’s children were too young at the time of his death to appreciate what happened,

and accordingly do not rely on state-law claims in the nature of claims for intentional infliction of

emotional distress.

       3. Tennessee. Mrs. Donna Holland provided extensive testimony on the devastating

emotional effect upon her of learning of the violent and sudden death of her husband. Tr. 90, 95,

99, 101-03, 104. The tort of intentional infliction of emotional distress, also known as the tort of

outrageous conduct, was recognized in Tennessee in Medlin v. Allied Inv. Co., 217 Tenn. 469,

398 S.W.2d 270, 274-75 (Tenn. 1966). In Foster v. Trentham’s, Inc., 458 F. Supp. 1382, 1383

(E.D. Tenn. 1978), the Court recognized that subsection (2) of Restatement Section 46, providing

for third party liability to “immediate family,” was part and parcel of the Tennessee law

governing intentional infliction of emotional distress. Accordingly, there is no question that Mrs.

Holland, as a resident of Tennessee, would qualify for damages under a state-law intentional

infliction of emotional distress cause of action.

IV.    PUNITIVE DAMAGES SHOULD BE AWARDED AGAINST THE IRGC,
       BECAUSE IT IS NOT A POLITICAL SUBDIVISION OF IRAN AND HAS NO
       CORE GOVERNMENTAL FUNCTIONS.

       Dr. Tefft testified extensively about the critical role played by the IRGC in the attack on

the Marine Barracks. He characterized the IRGC as the “prime mover” behind the terrorist

                                                    16
        Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 17 of 19




atrocity, and concluded that it could not have been carried out without that group’s active

participation, planning, and recruitment and training activities. Tr. 62. He characterized the

IRGC as a paramilitary organization akin to the “Brown Shirts,” the criminal and thuggish

enforcers of the Nazi party in World War II. Tr. 24. The IRGC “is not subject to the Ministry of

Defense or the regular Iranian army.” Tr. 25.

       The IRGC cannot be fairly compared to the Foreign Ministry of Iran, which has been held

to be a “political subdivision” of Iran because its core functions are “governmental.” Roeder v.

Islamic Republic of Iran, 333 F.3d 228, 234-235 (D.C. Cir. 2003). It is not a part of the

legitimate government of the Islamic Republic of Iran, much less a “political subdivision” of that

government as that term is ordinarily understood. It is a unique, influential and criminal

paramilitary organization that shares some of the same goals as the government of Iran and

promotes some of its purposes, acting as an agent and instrumentality of Iran, but operates

outside of it. Roeder v. Islamic Republic of Iran, 333 F.3d 234-235, recognized that the

distinction between a political subdivision and an agency or instrumentality often depends on

whether the core functions of the entity are “governmental” or “commercial.” However, the core

functions of the IRGC are neither “governmental” nor “commercial.” Rooted in Islamic

fundamentalist zeal, the core functions of the IRGC are to export the theology and “revolution”

of religious fanatics by violent means. The IRGC is therefore clearly not a “political

subdivision” of Iran, and punitive damages should be awarded against the IRGC in an amount

sufficient to deter its sponsorship of similar terrorist attacks in the future. See, e.g., Higgins v.

Islamic Republic of Iran, 2000 U.S. Dist. LEXIS 22173, at *25 (D.D.C. 2000), awarding punitive

damages against the IRGC of $300 million.

                                                  17
           Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 18 of 19




                                         CONCLUSION

       For the reasons stated, the Court should enter judgment against defendants the Islamic

Republic of Iran, MOIS, and the IRGC, jointly and severally, and in favor of plaintiffs, for

compensatory and punitive damages. The evidence submitted and the legal principles discussed

above support the award of damages to plaintiffs, and against all three defendants, jointly and

severally (except for punitive damages, limited to IRGC as noted) as follows:

       To Donna Marie Holland, as Executrix of Robert S. Holland’s Estate, for the present

value of economic damages and loss of income to the Estate: $1,241,486;

       To Donna Marie Holland, as Executrix of Robert S. Holland’s Estate, for punitive

damages against the IRGC: $300 million;

       To Donna Marie Holland, for loss of consortium, solatium, and intentional infliction of

emotional distress: $12 million;

       To James Robert Holland, for loss of consortium and solatium: $12 million;

       To Chad Phillip Holland, for loss of consortium and solatium: $12 million;

       To Rosemary Holland, for loss of consortium, solatium and intentional infliction of

emotional distress: $6 million;

       To Charles Holland, for loss of consortium, solatium, and intentional infliction of

emotional distress: $6 million;

       To Pat Holland, for solatium and intentional infliction of emotional distress: $5 million;

       To all plaintiffs, an award of punitive damages against the IRGC in the amount of $300

million.



                                                18
       Case 1:01-cv-01924-CKK Document 33 Filed 02/18/05 Page 19 of 19




                                   Respectfully submitted,



                                   ______________________________
                                   Paul G. Gaston, DC Bar # 290833
                                   LAW OFFICES OF PAUL G. GASTON
                                   1120 19th Street, NW
                                   Suite 750
                                   Washington, DC 20036
                                   (202) 296-5856
                                   Fax: (202) 296-4154

                                   Attorney for Plaintiffs

DATED: February 18, 2005




                                     19
